                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               WILMINGTON DIVISION

                                          CASE NO.:

 ALEXANDER BAYONNE STROSS,

                 Plaintiff,

 v.

 TINY HOUSE LISTINGS, L.L.C. and
 STEVEN LEE HARRELL,

                 Defendants.


                     COMPLAINT FOR COPYRIGHT INFRINGEMENT
                         (INJUNCTIVE RELIEF DEMANDED)

       Plaintiff ALEXANDER BAYONNE STROSS by and through his undersigned counsel,

brings this Complaint against Defendants TINY HOUSE LISTINGS, L.L.C. and STEVEN LEE

HARRELL for damages and injunctive relief, and in support thereof states as follows:

                                SUMMARY OF THE ACTION

       1.      Plaintiff ALEXANDER BAYONNE STROSS (“Stross”) brings this action for

violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute

Stross' original copyrighted Works of authorship in his Works.

       2.      Stross is the owner and principal photographer of Stross Stock. After traveling

the world with his camera, creating thousands of high-quality photographs, the natural next step

was to offer the public means to license his Work. Each photo on Stross Stock is shot with top-

quality equipment, thoughtfully produced, hand selected, and tastefully edited before being made

available to the public.




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       3.      Stross is a native of Austin, Texas, and watched the small city grow and develop

into an urban hot spot. This served as his inspiration to become a photographer, centering his

expertise on complicated architectural photography and landscape photography. In 2016, Stross

was nominated and accepted as a professional member of the American Society of Media

Photographers, which is a high honor. Stross received a B.S. in Computer Science at the

University of Texas at Austin and has since combined his love for the photographic arts and

computer science by building an online system to help protect artists' works on the internet.

       4.      Defendant TINY HOUSE LISTINGS, L.L.C. (“THL”) is a webpage advertising

trending “tiny houses”, which are uniquely built. The website showcases these tiny houses from

around the world, at their listing price with the opportunity to contact the lister for more

information. To ensure an interested customer can invest in one of the properties showcased, the

website offers financing options. At all times relevant herein, THL operated the internet website

located at the URL www.tinyhouseswoon.com (the “Website”).

       5.      Defendant Steven Lee Harrell (“Harrell”) is the CEO of THL and upon

information and belief, the registrant and owner of the Website.

       6.      Defendants THL and Harrell are collectively referred to herein as “Defendants.”

       7.      Stross alleges that Defendants copied Stross' copyrighted Works from the internet

in order to advertise, market and promote its business activities. Defendants committed the

violations alleged in connection with Defendants’ business for purposes of advertising and

promoting sales to the public in the course and scope of Defendants’ business.

                                 JURISDICTION AND VENUE

       8.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

       9.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§§ 1331, 1338(a).


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        10.     Defendants are subject to personal jurisdiction in North Carolina.

        11.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

because the events giving rise to the claims occurred in this district, Defendants engaged in

infringement in this district, Defendants reside in this district, and Defendants are subject to

personal jurisdiction in this district.

                                          DEFENDANTS

        12.     Tiny House Listings, L.L.C. is a North Carolina Limited Liability Company, with

its principal place of business at 1402 Marsh Cove Lane, Wilmington, North Carolina, 28409,

and can be served by serving its Registered Agent, Mr. Steven Lee Harrell, at the same address.

        13.      Steven Lee Harrell is an individual residing in New Castle county, state of North

Carolina and can be served at 1621 Sunrise Lane, Wilmington, North Carolina, 28409.

                           THE COPYRIGHTED WORKS AT ISSUE

        14.     The below table details the Copyright Titles, Registration Numbers and

Registration Issue Dates of the pieces of intellectual property at issue in this case, one of which is

shown below, and which are referred to herein as the “Works.” A copy of the works at issue is

shown below, the others are attached hereto as Exhibit 1. A copy of the Registration Certificate

is attached hereto as Exhibit 2.

                                                        Registration          Registration Issue
Copyright Title
                                                        Number                Date

Ilano-exit-strategy-1                                   VAu 1-089-810         2/19/2021

Ilano-exit-strategy-7                                   VAu 1-089-810         2/19/2012

Ilano-exit-strategy-8                                   VAu 1-089-810         2/19/2012

Ilano-exit-strategy-9                                   VAu 1-089-810         2/19/2012

Ilano-exit-strategy-11                                  VAu 1-089-810         2/19/2012



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                                                      Registration          Registration Issue
Copyright Title
                                                      Number                Date

Ilano-exit-strategy-14                                VAu 1-089-810         2/19/2012

Ilano-exit-strategy-26                                VAu 1-089-810         2/19/2012

Ilano-exit-strategy-28                                VAu 1-089-810         2/19/2012

Ilano-exit-strategy                                   VAu 1-089-810         2/19/2012

_MG_0318_19_20_21_22_23Adjust-Edit                    VAu 1-089-810         2/20/2012




        15.     Stross' Works are protected by copyright but are not otherwise confidential,

proprietary, or trade secrets.

        16.     At all relevant times Stross was the owner of the copyrighted Works at issue in

this case.




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                               INFRINGEMENT BY DEFENDANTS

          17.     Defendants have never been licensed to use the Works at issue in this action for

any purpose.

          18.     On a date after the Works at issue in this action were created, but prior to the

filing of this action, Defendants copied the Works.

          19.     Defendants copied Stross' copyrighted Works without Stross' permission.

          20.     After Defendants copied the Works, they made further copies and distributed the

Works on the internet to promote the sale of goods and services as part of their listings of small

houses.

          21.     Defendants copied and distributed Stross' copyrighted Works in connection with

Defendants’ business for purposes of advertising and promoting Defendants’ business, and in the

course and scope of advertising and selling products and services.

          22.     Stross' Works are protected by copyright but are not otherwise confidential,

proprietary, or trade secrets.

          23.     Defendants committed copyright infringement of the Works as evidenced by the

documents attached hereto as Exhibit 3.

          24.     Stross never gave Defendants permission or authority to copy, distribute or

display the Works at issue in this case.

          25.     Stross notified Defendants of the allegations set forth herein on May 6, 2020 and

June 15, 2020. To date, Defendants have failed to respond to Plaintiff’s Notices. Copies of the

Notices to Defendants are attached hereto as Exhibit 4.




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                                       COUNT I
                                COPYRIGHT INFRINGEMENT

        26.     Plaintiff incorporates the allegations of paragraphs 1 through 25 of this Complaint

as if fully set forth herein.

        27.     Stross owns valid copyrights in the Works at issue in this case.

        28.     Stross registered the Works at issue in this case with the Register of Copyrights

pursuant to 17 U.S.C. § 411(a).

        29.     Defendants copied, displayed, and distributed the Works at issue in this case and

made derivatives of the Works without Stross' authorization in violation of 17 U.S.C. § 501.

        30.     Defendants performed the acts alleged in the course and scope of its business

activities.

        31.     Defendants’ acts were willful.

        32.     Stross has been damaged.

        33.     The harm caused to Stross has been irreparable.
        WHEREFORE, the Plaintiff prays for judgment against the Defendants Tiny House

Listings, L.L.C. and Steven Lee Harrell that:

        a.      Defendants and their officers, agents, servants, employees, affiliated entities, and

all of those in active concert with them, be preliminarily and permanently enjoined from

committing the acts alleged herein in violation of 17 U.S.C. § 501;

        b.      Defendants be required to pay Plaintiff his actual damages and Defendants’

profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as provided

in 17 U.S.C. § 504;

        c.      Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable

statutes sued upon;



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          d.     Plaintiff be awarded pre and post-judgment interest; and

          e.     Plaintiff be awarded such other and further relief as the Court deems just and

proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury of all issues so triable.

Dated: September 17, 2020                        Respectfully submitted,


                                                 /s/ Arthur Piervincenti
                                                 ARTHUR H. PIERVINCENTI
                                                 Bar No.
                                                 arthur@ptlawpllc.com

                                                 PIERVINCENTI & TARANTINO LAW, PLLC
                                                 8584 Highway 150
                                                 Terrell, NC 28682
                                                 704.360.8181 – Telephone
                                                 704.380.9444 – Facsimile

                                                 Counsel for Plaintiff Alexander Bayonne Stross




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